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                                                             U.S. Department of Justice
                                                             Drug Enforcement Administration
                                                             Office of Chief Counsel
                                                             Diversion and Regulatory Litigation Section



         www.dea.gov                                         August 24, 2007

         Efrem M. Grail, Esq.
         Reed Smith LLP
         435 Sixth Avenue
         Pittsburgh, PA 15219-1886


             Re: AmerisourceBergen Drug Corporation

         Dear Mr. Grail :

            This is in response to your July 11, 2007 letter seeking confirmation of recent discussions
         between the Drug Enforcement Administration ("DEA") and AmerisourceBergen Drug Corporation
         ("ABDC").

              As an initial matter, I would like to coffect one representation made in the last paragraph of the
         first page of your letter. The relevant section of the Settlement and Release Agreement
         ("Agreement") that reflects ABDC's obligations with respect to reporting suspicious orders is
         located in Section II(l)(b)(ii) of the Agreement. ABDC's regulatory obligation to design and
         operate a system to identify and disclose suspicious orders is not diminished by the Agreement.
         Rather, Section II(l)(b)(ii) imposes an additional obligation on ABDC to report suspicious orders
         directly to DEA Headquarters, unless and until advised otherwise in writing by DEA Headquarters.
         The Agreement does not approve or endorse a particular system to identify and disclose suspicious
         orders. The design and operation of a particular system remains the sole responsibility of ABDC.

              Likewise, the recent communications between ABDC and DEA regarding ABDC's requirement
         to identify and disclose suspicious orders are not modifications or expansions of the Agreement,
         should not be construed as an approval of ABDC ' s Order Monitoring Program, and should not be
         interpreted as "official policy of the DEA." DEA is committed to maintaining an open dialog with
         all registrants as a means of providing information that is useful for a registrant in designing and
         maintaining an effective diversion control program. DEA, however, will not approve or endorse a
         particular diversion control program. The information provided in these discussions is guidance that
         ABDC should consider in operating its diversion control program. In addition to information
         provided in these and future discussions with DEA, ABDC should also consult the Controlled
         Substances Act and its implementing regulations, information published on DEA's Diversion
         Control website, and notices published in the Federal Register. To that end, I refer you to the recent
         final order issued by the Deputy Administrator, DEA, in the matter of Southwood Pharmaceuticals
         Inc., 72 FR 36487. In addition to discussing a distributor's obligation to report suspicious orders
         when discovered by the registrant and some criteria to use when determining whether an order is
         suspicious, the final order also specifically discusses a distributor's obligation to maintain effective
         controls against the diversion of controlled substances.



                                                                         17-MDL-2804

                                                                    PLAINTIFFS TRIAL
                                                                        EXHIBIT
CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                          P-00521_00001                    ABDCMDL00269390
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         Efrem M. Grail, Esq.                                                                           Page2
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            Please do not hesitate to contact me should you have any questions regarding this matter.

                                                         Sin~erely,

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                                                         Senior Attorney
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                                                         Diversion and Regulatory Litigation


            cc:    D. Linden Barber, Associate Chief Counsel, Diversion and Regulatory Litigation,
                      Office of Chief Counsel, Drug Enforcement Administration (via email)
                   Michael R. Mapes, Chief, Regulatory Section, Office of Diversion Control,
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CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                        ABDCMDL00269391
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